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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF FLORIDA
                                     PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS EARPLUG                         Case No. 3:19-md-02885
PRODUCTS LIABILITY LITIGATION
                                                      Hon. Judge M. Casey Rodgers
                                                      Magistrate Judge Gary R. Jones
This Document Relates To All Actions



              MOTION TO WITHDRAW HAROLD A. BARZA
 AS COUNSEL FOR PLAINTIFFS GILBERT FORMOSO AND SCOTT E. LAMBERT

        Quinn Emanuel Urquhart & Sullivan LLP hereby respectfully requests that this Court

enter an order permitting Harold A. Barza to withdraw as counsel for Plaintiffs Gilbert Formosa

and Scott E. Lambert and states:

        1.      Mr. Harold A. Barza was granted pro hac vice in this matter on May 20, 2019

                [Dkt. 363].

        2.      Mr. Barza will be resigning from Quinn Emanuel LLP and will no longer be

                involved in the handling of this action. Adam A. Wolfson and Matthew Hosen of

                Quinn Emanuel LLP are admitted in this action and will continue to serve as

                counsel for Plaintiffs Gilbert Formoso and Scott E. Lambert.

        WHEREFORE, the undersigned respectfully requests that this Court enter an order

permitting the withdrawal of Harold A. Barza and removing Mr. Barza from the ECF electronic

service list for this action.




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Dated: March 20, 2020            /s/ Adam A. Wolfson
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                                 Counsel for Plaintiffs Gilbert Formoso and
                                 Scott E. Lambert




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                               CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that a copy of the foregoing was served by

Notice of Electronic Filing via the Court’s CM/ECF electronic filing system on March 20, 2020.



Dated: March 20, 2020                      /s/ Adam A. Wolfson




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